     Case 1:25-cv-00402-AHA          Document 42-2        Filed 02/26/25      Page 1 of 4




                         FIRST DECLARATION OF DELLA DOE

      I, Della Doe, declare the following under penalties of perjury:

      1.      I am over 18 years of age and competent to give this declaration. This declaration

is based on my personal knowledge, information, and belief.

      2.      I am a member of the American Foreign Service Association.

      3.      I have worked for USAID for over a decade. I currently serve overseas as a

financial manager, and in that role I am responsible for making payments to USAID foreign

assistance partners (contractors and grantees), vendors and USAID employees.

      4.      Normally many of USAID’s U.S. implementing partners would have access to a

letter of credit (LOC) system to be able to draw cash for 10-day activity needs. Once this access

is set, a partner can draw on the cash through the LOC system swiftly without additional

approvals, within certain parameters set up in the system. Such expedited access to cover the

activity needs is important to successful activity implementation, especially for Humanitarian

Assistance activities. To my knowledge the access to LOC facilities was interrupted for some

partners sometime the week of January 20, and still has not been fully restored even after the

TRO in Case Nos. 25-cv-400 and 25-cv-402 took effect on February 13.

      5.      Additionally, for those partners not operating under an LOC, USAID/Washington

and missions directly process payments on an advance and/or reimbursement basis. The invoice

and respective payment are reviewed and approved by the Agreement/Contracting Officer

Representative (AOR/COR), voucher examiners, and Authorized Certifying Officer (often a

Controller or other designated U.S. staff). The payment review process normally takes between

15–28 days and payment gets disbursed to a partner under 30 days in compliance with the

Prompt Payment Act.




                                               1
     Case 1:25-cv-00402-AHA           Document 42-2        Filed 02/26/25      Page 2 of 4




      6.      I have read the declaration of Walter Doe filed in Case No. 25-cv-352 (Exhibit 1)

and his experience of interruptions in the USAID payment process starting on January 20th is

consistent with my experience. On or about January 27 Certifying Officers worldwide noticed

that the certified payments wouldn’t go through the Agency accounting system (Phoenix) to the

U.S. Treasury for disbursement, and on or about February 3 we lost the ability to certify

payments in Phoenix. At that time this ability was lost for all payments, even those that fell

under the waivers/exceptions specified in the State Department Cable 25 State 6828 issued on

January 24, which included legitimate expenses for programmatic activities incurred before the

date of the Cable.

      7.      On February 5 the State Department issued a follow-on cable 25 State 10948

which provided technical guidance on obtaining additional approvals when making Agency’s

administrative payments, as well as programmatic payments for expenses incurred before

January 24, 2025 (so-called 12(d) payments), and instructions on how to seek exceptions for

activities (so-called 12(e) exceptions). The necessary approvals include Director of State

Department’s Bureau for Foreign Assistance for programmatic payments, and USAID’s Senior

Bureau Official for both programmatic and administrative payments. Both approvals are an

additional layer to a regular USAID payment process. The role of the Senior Bureau Official

(SBO) was assigned to only one person, Chief of Staff Kenneth Jackson. However as on

February 5 and almost two weeks afterwards, Phoenix disbursement function was unavailable to

the Agency’s staff, the process outlined in the cable was meaningless.

      8.      The TRO was issued on February 13; however, there was no official or unofficial

guidance released to the Agency’s Authorized Certifying Officers since then on how the TRO is

to be implemented. The only new official guidance the Agency issued to Certifying officers




                                                2
     Case 1:25-cv-00402-AHA            Document 42-2        Filed 02/26/25      Page 3 of 4




since TRO was on February 20 and concerned the Agency’s own administrative payments such

as staff salaries and benefits, rent, utilities, security services and such. The Agency has issued

no guidance regarding payments to implementing partners.

      9.      The Agency has restored access to Phoenix for a very limited number of staff on

or about February 18. In a normal course of operations the Agency would have by my estimates

between 50–80 Certifying Officers who would facilitate timely processing of all types of

payments, and hundreds of voucher examiners to log in and review the payments. My

understanding is that currently the access is restored only to a very reduced number of

Certifying staff worldwide, less than 20, and only 40 or so voucher examiners. This highly

reduced staff was charged with processing mostly the Agency’s own administrative payments

across many missions and Washington. The SBO has been responsive to approval requests for

those internal administrative payments. This in stark contrast to requests for payments to

implementing partners, for which we received no SBO approvals or new guidance.

      10.     Since there was no new official guidance since the TRO, missions’ only reference

remains State Cable 10948, which predates the TRO. Even following that guidance, I was not

able to obtain all necessary approvals for any programmatic payments, including legitimate

expenses incurred prior to January 24 under existing awards. To my knowledge numerous

missions including mine tried to obtain approvals from the Director of State Department’s

Bureau for Foreign Assistance and USAID Senior Bureau Official for 12(d) and 12(e)

payments, and very few obtained just one approval but not both as required by the cable 10948.

We also tried unsuccessfully to obtain guidance on what is the payment process in the absence

of Cable-prescribed approvals but with the TRO in place. Though the waiver process is

described in the pre-TRO cable, in reality all USAID funds have remained undisbursed because




                                                 3
      Case 1:25-cv-00402-AHA          Document 42-2        Filed 02/26/25      Page 4 of 4




of deliberate unresponsiveness of officials charged with implementing the TRO and/or the same

officials not providing approvals for programmatic payments under existing waivers.

       11.     Currently my mission has more than $30 million in unpaid invoices for 2 months

of implementing partners’ work, with half of those past Prompt Payment Act due date (30 days)

and incurring interest every day. If one were to extrapolate the numbers across all of the

missions and USAID/Washington, given that annual USAID appropriation is $40 billion, the

total dollar amount of unpaid invoices would certainly surpass $1billion at the most

conservative estimate.

       12.     On February 23 the Agency notice placed the majority of Agency personnel on

administrative leave, and left only a few hundred (mostly administrative) staff as essential. This

decimation is in addition to the Agency’s prior dismissal of institutional contractors and PSC

staff. This leaves the Agency with no sufficient personnel to review and approve thousands of

programmatic payments that are due to hundreds of implementing partners for work performed

prior to January 24. Even if the TRO is properly implemented the Agency has no adequate staff

remaining on duty to process the payments.

       13.     Arbitrary withholding of due payments to U.S. and non-U.S. based partners does

grave damage to the reputation and reliability of the U.S. government both domestically and

internationally. USAID is a USG Agency which signed the contracts and grants in line with the

Code of Federal Regulations and other statutes; USG refusal to pay for the past performed work

and non-compliance with the TRO can shatter Americans’ certainty in the rule of law.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

                                                    /s/ Della Doe
                                                    Della Doe



                                                4
